
PER CURIAM
After reviewing the evidence and considering the law, we conclude petitioner is eligible to be admitted to the practice of law in Louisiana, subject to the following conditions:
I. The term of this conditional admission shall be for two years from the date of admission. However, petitioner's conditional admission status shall not be terminated until this court so orders.
II. Within thirty days of petitioner's admission, he shall enter into a formal plan with the Office of Disciplinary Counsel ("ODC") incorporating the following conditions:
A. During the period of this conditional admission, petitioner shall attend and successfully complete the Louisiana State Bar Association's Ethics School program.
B. Petitioner shall cooperate with the ODC, and shall comply with any and all requirements imposed upon him by the ODC.
III. Within thirty days prior to the expiration of the conditional admission, the ODC shall file a report in this court in which it shall recommend to the court that the conditional admission be allowed to terminate or be extended.
*727Should petitioner fail to make a good faith effort to satisfy these conditions, or should he commit any misconduct during the period of probation, his conditional right to practice may be terminated or he may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
